   Case 1:23-cv-06414-JGK   Document 73    Filed 09/06/23   Page 1 of 25




                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK



BANCO SAN JUAN INTERNACIONAL, INC.,


                             Plaintiff,
                                              Case No. 1:23-cv-06414 (JGK)
                     v.

THE FEDERAL RESERVE BANK OF NEW YORK
and THE BOARD OF GOVERNORS OF THE                 
FEDERAL RESERVE SYSTEM
                                              
                                              
                             Defendants.




  REPLY MEMORANDUM OF LAW IN SUPPORT OF BSJI’S MOTION FOR
                PRELIMINARY INJUNCTION
          Case 1:23-cv-06414-JGK                        Document 73               Filed 09/06/23              Page 2 of 25




                                                   TABLE OF CONTENTS

                                                                                                                                     Page

PRELIMINARY STATEMENT...................................................................................................... 1

ARGUMENT .................................................................................................................................. 4

I.        BSJI Will Suffer Irreparable Harm in the Absence of Injunctive Relief ............................ 4

II.       BSJI Is Likely to Succeed on the Merits and Presents Serious Questions That Are
          Fair Grounds for Litigation ................................................................................................. 5

          A.         BSJI Has a Statutory Right to a Master Account .................................................... 6

          B.         BSJI Did Not Waive Its Statutory Right to an Account, nor Is It Estopped
                     from Asserting That Right .................................................................................... 10

          C.         BSJI Is Likely to Succeed on, or Has Presented Serious Questions
                     Concerning, Its APA Claim ................................................................................... 12

          D.         BSJI Is Likely to Succeed on, or Has Presented Serious Questions
                     Concerning, Its Mandamus Claim ........................................................................ 17

          E.         BSJI Is Likely to Succeed on, or Has Presented Serious Questions
                     Concerning, Its Due Process Claim ...................................................................... 17

          F.         BSJI Is Likely to Succeed on, or Has Presented Serious Questions
                     Concerning, Its Contractual Claims ...................................................................... 17

III.      The Public Interest Favors Granting an Injunction ........................................................... 18

CONCLUSION ............................................................................................................................. 18




                                                                      i
          Case 1:23-cv-06414-JGK                       Document 73               Filed 09/06/23             Page 3 of 25




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Airbnb, Inc. v. City of New York,
   373 F. Supp. 3d 467 (S.D.N.Y. 2019)........................................................................................5

Alexander v. Gardner-Denver Co.,
   415 U.S. 36 (1974) ...................................................................................................................11

Anderson v. Bowen,
   881 F.2d 1 (2d Cir. 1989) ........................................................................................................17

Bionpharma Inc. v. CoreRx, Inc.,
   582 F. Supp. 3d 167 (S.D.N.Y. 2022)........................................................................................4

Brooklyn Sav. Bank v. O'Neil,
   324 U.S. 697 (1945) .................................................................................................................12

Brotherhood of R. R. Trainmen v. Balt. & O.R. Co.,
   331 U.S. 519 (1947) ...................................................................................................................8

Cedeno v. Argent Tr. Co.,
   No. 20-cv-9987, 2021 WL 5087898 (S.D.N.Y. Nov. 2, 2021)................................................11

Citigroup Glob. Mkts., Inc. v. VCG Special Opps. Master Fund Ltd.,
    598 F.3d 30 (2d Cir. 2010).........................................................................................................5

City of New York v. Heckler,
    742 F.2d 729 (2d Cir. 1984).....................................................................................................17

Columbus Park Corp. v. Dep’t of Hous. Pres. & Dev. of the City of New York,
   586 N.Y.S.2d 554 (N.Y. 1992) ................................................................................................11

Custodia Bank, Inc. v. Fed. Rsrv. Bd. of Governors,
   640 F. Supp. 3d 1169 (D. Wyo. 2022) ...................................................................................8, 9

Custodia Bank, Inc. v. Fed. Rsrv. Bd. of Governors,
   1:22-CV-00125-SWS (ECF No. 151) (D. Wyo. April 20, 2023) ..............................................9

Custodia Bank, Inc. v. Fed. Rsrv. Bd. of Governors,
   1:22-CV-00125-SWS (ECF No. 164) (D. Wyo. June 8, 2023) .................................................9

Dong v. Smithsonian Inst.,
   125 F.3d 877 (D.C. Cir. 1997) .................................................................................................12



                                                                    ii
          Case 1:23-cv-06414-JGK                         Document 73                Filed 09/06/23               Page 4 of 25




Farmers’ & Merchs.’ Bank of Monroe v. Fed. Rsrv. Bank of Richmond,
   262 U.S. 649 (1923) ...................................................................................................................7

F.D.I.C. v. Four Star Holding Co.,
   No. 97-CV-4184 (JFK), 2000 WL 256146 (S.D.N.Y. Mar. 7, 2000)......................................11

Flight Int’l Group, Inc. v. Fed. Rsrv. Bank of Chicago.,
    583 F. Supp. 674 (N.D. Ga. 1984), vacated, 597 F. Supp. 462 (N.D. Ga. 1984) ....................13

Fourth Corner Credit Union v. Fed. Rsrv. Bank of Kansas City,
   861 F.3d 1052 (10th Cir. 2017) .......................................................................................8, 9, 10

Haitian Ctrs. Council, Inc. v. McNary,
   969 F.2d 1326 (2d Cir. 1992).....................................................................................................6

I.N.S. v Cardoza-Fonseca,
    480 U.S. 421 (1987) ...................................................................................................................6

Ky. Dep’t of Corr. v. Thompson,
    490 U.S. 454 (1989) .................................................................................................................17

Lee Constr. Co., Inc. v. Fed. Rsrv. Bank of Richmond,
   558 F. Supp. 165 (D. Md. 1982) ..............................................................................................13

Locafrance U.S. Corp. v. Intermodal Sys. Leasing, Inc.,
   558 F.2d 1113 (2d Cir. 1977)...................................................................................................11

Morris v. New York City Employees' Ret. Sys.,
  129 F. Supp. 2d 599 (S.D.N.Y. 2001)......................................................................................12

Nature’s Entprs, Inc. v. Pearson,
   No. 08 CIV 8549 (JGK), 2008 WL 4700547 (S.D.N.Y. Oct. 24, 2008) ...................................4

Otoe-Missouria Tribe of Indians v. N.Y. State Dep’t of Fin. Servs.,
   769 F.3d 105 (2d Cir. 2014).......................................................................................................6

Perry v. U.S.,
   294 U.S. 330 (1935) .................................................................................................................17

Rivera v. New York City Dep’t of Educ.,
   No. 21-cv-6134, 2023 WL 2563665 (E.D.N.Y. Feb. 3, 2023) ................................................11

Roeder v. J.P. Morgan Chase & Co.,
   523 F. Supp. 3d 601 (S.D.N.Y. 2021), aff’d, 2022 WL 211702 (2d Cir. Jan.
   25, 2022) ..................................................................................................................................12

TNB USA Inc. v. Fed. Rsrv. Bank of N.Y.,
  No. 1:18-CV-7978, 2020 WL 1445806 (S.D.N.Y. Mar. 25, 2020) .........................................10

                                                                      iii
          Case 1:23-cv-06414-JGK                        Document 73                Filed 09/06/23              Page 5 of 25




trueEX, LLC v. MarkitSERV Ltd.,
    266 F. Supp. 3d 705 (S.D.N.Y. 2017)........................................................................................4

Wilson v. Malca-Amit USA, LLC,
   No. 06-CIV.-4623 (KMW), 2007 WL 9815638 (S.D.N.Y. Nov. 6, 2007)..............................12

Wisdom Imp. Sales Co. v. Labatt Brewing Co.,
   339 F.3d 101 (2d Cir. 2003).......................................................................................................4

Statutes

5 U.S.C. § 551(1) ...........................................................................................................................12

12 U.S.C. § 248(k) .....................................................................................................................8, 13

12 U.S.C. § 248a .................................................................................................................... passim

12 U.S.C. § 342 ......................................................................................................................6, 7, 13

28 U.S.C. § 1361 ............................................................................................................................16

Other Authorities

12 C.F.R. § 265.20 .........................................................................................................................13

Federal Reserve Board, Press Release (Jul 19, 2023), available at
   https://www.federalreserve.gov/newsevents/pressreleases/enforcement202307
   19a.htm#:~:text=First%2C%20the%20Board%20issued%20a,and%20anti%2
   Dmoney%20laundering%20controls .......................................................................................15




                                                                      iv
         Case 1:23-cv-06414-JGK         Document 73        Filed 09/06/23      Page 6 of 25




                                 PRELIMINARY STATEMENT

         It is said that vaulting ambition overleaps itself. Here, Defendants not only overleap

themselves, but also a clear statutory directive, the plain intent of Congress, and legions of courts,

academics, and past Federal Reserve statements.         Driven by a shotgun approach aimed at

controlling the proliferation of novel, non-depository financial institutions (and misdirected at

BSJI)1, Defendants now assert they have unfettered authority over who gets (and keeps) a master

account—the gateway to the U.S. financial system.

         As to BSJI, Defendants reverse-engineered their preordained conclusion that BSJI, a small

institution in Puerto Rico, represents a threat to the overall economy, requiring its master account

to be closed while Defendants apply substantially more lenient standards to larger institutions with

actual (and serious) compliance violations.

         BSJI is statutorily entitled to a master account. But even under the Defendants’ erroneous

legal interpretation of the Federal Reserve Act, Defendants cannot evade the strictures of

Administrative Procedure Act review and their obligations to act with diligence and in good faith.

The record demonstrates that they cannot satisfy even these low bars because they have done

nothing of the kind, reaching conclusions without reasonable review or discussing with auditors

who know this bank best.

         BSJI’s experience underscores the dangers of the standardless, boundless discretion the

Defendants claim to have. Despite Defendants’ assertion that “[t]he extended back and forth

between the parties shows that the FRBNY acted in good faith,” (FRBNY Opp’n at 28) the facts

show otherwise:


1
    Capitalized terms used but not otherwise defined herein are as defined in BSJI’s Motion for

Temporary Restraining Order and Preliminary Injunction (“BSJI Mt.”), ECF No. 7.

                                                  1
         Case 1:23-cv-06414-JGK          Document 73        Filed 09/06/23     Page 7 of 25




             o In April and June 2022, BSJI, in light of the particular circumstances
               surrounding the prior year’s reports, twice sought, in writing, confirmation
               from the FRBNY that BSJI could file certain annual reports by September
               30, 2022. There was no “extended back and forth.” The FRBNY ignored
               (in retrospect, likely deliberately) both of BSJI’s correspondence and
               surprised BSJI by advising on July 18, 2022 that it would close BSJI’s
               master account (a closure decision the FRBNY now claims was “nonfinal”)
               based on missing the “deadline.”

             o On October 1, 2022, the FRBNY sent a Request for Information to BSJI.
               Given that there was no dialogue that accompanied the RFI, BSJI provided
               the requested information and begged the FRBNY to discuss any questions
               or concerns. In January 2023, BSJI again asked for communication. In
               April, again with no warning, and surely no “back and forth,” BSJI received
               another closure letter, just as baseless as in 2022.2

             o The FRBNY claims to disagree with the on-the-ground auditor—K2
               Integrity—whom the FRBNY itself blessed in 2020, 2021 and 2022. K2
               Integrity found BSJI’s compliance program comprehensive and effective,
               and recommended some additional possible enhancements. Because K2
               Integrity’s conclusion was at odds with the FRBNY’s goal of eliminating
               BSJI’s master account, the FRBNY, by fiat, recharacterized the proposed
               add-on enhancements as “deficiencies.” Perhaps most striking is that, in
               doing so, it broke with the practice of its own examiners who would never
               overrule an on-the-ground auditor without a dialogue with that auditor. If
               the FRBNY had been acting in good faith, or was exercising proper
               procedures, it would have had that discussion with K2 Integrity to determine
               the source of the disagreement. Further still, the FRBNY would have
               conferred with BSJI, in which case it would have learned that BSJI had been
               implementing all of K2 Integrity’s recommendations, all of which have
               been implemented and now validated by K2 Integrity, thereby rendering
               even that so-called concern moot.

             o In a transparent attempt to poison this proceeding, the FRBNY repeats the
               term “money laundering” 46 times. But the suggestion of money laundering


2
    The only dialogue granted to BSJI in connection with the 2023 closure letter came after the April

24, 2023 closure determination was made. The FRBNY granted BSJI that call only after three

submissions by BSJI, the last of which included a declaration from former Fed official Christopher

Laursen who advised that such communication was legally required. See Supp. CL Decl. at ¶¶ 4,

7. This single 2023 call was nothing more than a made-for-litigation, defensive measure.


                                                   2
Case 1:23-cv-06414-JGK   Document 73   Filed 09/06/23   Page 8 of 25
      Case 1:23-cv-06414-JGK          Document 73        Filed 09/06/23      Page 9 of 25




                                         ARGUMENT

I.     BSJI Will Suffer Irreparable Harm in the Absence of Injunctive Relief

       Without a preliminary injunction, BSJI will suffer imminent irreparable harm that is neither

remote nor speculative, for which a monetary award cannot compensate. Wisdom Imp. Sales Co.

v. Labatt Brewing Co., 339 F.3d 101, 113-15 (2d Cir. 2003).

       This Circuit has rejected Defendants’ argument that a claim of irreparable harm must be

based on concrete evidence of customer loss. See trueEX, LLC v. MarkitSERV Ltd., 266 F. Supp.

3d 705, 726-27 (S.D.N.Y. 2017) (it is “well settled” that “a threatened loss of good will and

customers, both present and potential” “can constitute irreparable injury”); see also Nature’s

Entprs, Inc. v. Pearson, No. 08 CIV 8549 (JGK), 2008 WL 4700547, at *3 (S.D.N.Y. Oct. 24,

2008) (granting preliminary injunction where plaintiff was “in imminent danger of losing

customers”).   Moreover, BSJI has provided evidence of the debilitating customer loss it

experienced after the 2019 suspension. BSJI Mt. at 15-17, see also Supplemental Declaration of

Hector J. Vazquez (“Suppl. HJV Decl.”) ¶¶ 11-18.

       Defendants assert that no additional harm will come to BSJI, given its relation to current

account holders. But even loyal customers can be lost. In light of current circumstances,

                                                                     See Suppl. HJV Decl. ¶ 10.

Defendants further argue that BSJI can easily avoid customer loss by securing a correspondent

banking relationship—a curious proposition given their bald claim that BSJI launders money and

needs to be barred from the U.S. financial system. Regardless, the theoretical possibility of

obtaining alternative services does not negate a finding of irreparable harm. Bionpharma Inc. v.

CoreRx, Inc., 582 F. Supp. 3d 167, 175 (S.D.N.Y. 2022) (finding irreparable harm where “even in

the event that [Plaintiff found] an alternative supplier, customers may … refuse to return to

[Plaintiff], because of its lack of dependability”). The evidence conclusively establishes that

                                                4
      Case 1:23-cv-06414-JGK            Document 73        Filed 09/06/23      Page 10 of 25




correspondent banks pose no viable alternative for BSJI: financial institutions will not facilitate

banking services for banks that have had their master accounts terminated, especially when the

Defendants claim the bank poses an “undue risk to the overall economy.” RJW Decl. ¶6; HJV

Decl. ¶71; WMI Decl. ¶20. Despite its best efforts, BSJI has not been able to secure correspondent

services, nor would one expect it to given Defendants’ accusations. Suppl. HJV Decl. ¶¶ 2-7.

       Finally, Defendants argue that because BSJI has                             , it cannot suffer a

loss of business opportunity. BSJI earned in excess of $80 million in 2017 and 2018.




       Suppl. HJV Decl. ¶¶ 11-18.

       In contrast, Defendants have no plausible claim that they will suffer harm if a preliminary

injunction is granted, especially if the Court agrees to condition grant of the motion on maintenance

of the transaction monitor currently reviewing all transactions.

II.    BSJI Is Likely to Succeed on the Merits and Presents Serious Questions That Are Fair
       Grounds for Litigation

       To substantiate its likelihood of success on the merits, a movant is not required to show

that success on its complaint is an absolute certainty, but rather that the probability it will prevail

is “better than fifty percent.” Airbnb, Inc. v. City of New York, 373 F. Supp. 3d 467, 480 (S.D.N.Y.

2019). Under the “more flexible” serious questions analysis, a movant must demonstrate that there

are “sufficiently serious questions going to the merits to make them a fair ground for litigation and

a balance of hardships tipping decidedly toward the party requesting the preliminary relief.”

Citigroup Glob. Mkts., Inc. v. VCG Special Opps. Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010).

       Although this Court correctly observed that challenges to certain government actions

render the “serious questions” doctrine inapplicable to requests for injunctive relief (July 26, 2023


                                                  5
      Case 1:23-cv-06414-JGK           Document 73        Filed 09/06/23       Page 11 of 25




Hr’g Tr. at 4:1-10), those circumstances are not present here. A movant cannot invoke the “serious

questions” standard where the challenged governmental action was taken (1) in the public interest

and (2) pursuant to a statutory or regulatory scheme. Otoe-Missouria Tribe of Indians v. N.Y. State

Dep’t of Fin. Servs., 769 F.3d 105, 105 (2d Cir. 2014); Haitian Ctrs. Council, Inc. v. McNary, 969

F.2d 1326, 1339 (2d Cir. 1992). As BSJI has shown (see BSJI Mt. at 18-22), Defendants violated

their statutory obligations and acted contrary to the public interest in improperly deciding to

terminate BSJI’s master account. The serious questions standard is therefore applicable.

       Where an agency’s current interpretation of a statute conflicts with its own prior

interpretations, it is “entitled to considerably less deference” than a consistently held agency view.

I.N.S. v Cardoza-Fonseca, 480 U.S. 421, 447, n. 30 (1987). Defendants’ position in this litigation

plainly conflicts with their past and present interpretation of master account access (BSJI Mt. at

20-22) thereby denying Defendants the deference they seek or an exception grounded in the

application of that deference.

       A.      BSJI Has a Statutory Right to a Master Account

       Defendants assert that because the FRBNY is purportedly authorized to terminate BSJI’s

master account by statute, Counts I-IV are unlikely to succeed. This argument is undermined by

the clear statutory language, past interpretations by the Board and officials with the regional

Federal Reserve Banks, legislative history, and interpretations of the relevant law by other circuit

courts and academics. As BSJI has demonstrated, it is entitled to a master account under 12 U.S.C.

§ 248a. See BSJI Mt. at 18-22. Once recognized, the conclusion that it is likely to succeed on the

merits with respect to all four of these claims—or, at minimum, has shown serious questions that

are fair ground for litigation—follows.

       Defendants contend that master account access is governed by 12 U.S.C. § 342

(“Section 13”), which states that Reserve Banks “may receive from any of [their] member banks,
                                                  6
      Case 1:23-cv-06414-JGK             Document 73     Filed 09/06/23      Page 12 of 25




or other depository institutions, and from the United States, deposits of current funds in lawful

money, national-bank notes, Federal reserve notes, or checks, and drafts, payable upon

presentation or other items.” Section 13 says nothing about master account access. It merely

provides Reserve Banks with discretion over the types of deposits they may accept: the statute

provides that Reserve Banks “may receive … deposits of currents funds in lawful money, national-

bank notes, Federal reserve notes, or checks, and drafts, payable upon presentation or other items.”

See Farmers’ & Merchs.’ Bank of Monroe v. Fed. Rsrv. Bank of Richmond, 262 U.S. 649, 655, 662

(1923) (“neither section 13, nor any other provision of the Federal Reserve Act, imposes upon

reserve banks any obligation to receive checks for collection”). This says nothing as to the

antecedent question of which institutions are entitled to master accounts.

       Defendants look to the preliminary clauses of Section 342 to fill this silence, claiming that

the language “may receive from any of its member banks, or other depository institutions, …

deposits” serves as a congressional delegation of master account discretion. But this recitation of

Section 13 cuts it just short. Section 13 then places the “United States” on an equivalent playing

field as “member banks” and “other depository institutions,” with each having the capacity to

deposit funds at Reserve Banks. If, as Defendants contend, Reserve Banks’ discretion over master

accounts springs from the list of institutions contained in Section 13, it would necessarily follow

that a Federal Reserve Bank could singlehandedly block the United States from a master account,

just as it can purportedly block BSJI.

       Defendants’ efforts to interpret § 248a into irrelevancy fare no better. Defendants initially

object that § 248a makes no mention of master accounts and merely governs “principles for setting

prices.”   Were the lack of express reference to master accounts dispositive, Defendants’

interpretation of Section 13 would also fail. Section 248a is also not silent as to master accounts.



                                                 7
      Case 1:23-cv-06414-JGK              Document 73    Filed 09/06/23     Page 13 of 25




Section 248a articulates an enumerated list of Reserve Bank services to which member banks and

nonmember depository institutions are entitled. That list includes “any new service which the

Federal Reserve system offers, including but not limited to payment services to effectuate the

electronic transfer of funds.” 12 U.S.C. 248a(b)(8). The Reserve Banks’ current master account

structure, implemented in 1998 to “effectuate the electronic transfer of funds,” squarely fits into

this definition of a “new service.” Id.

       As the statute employs the non-discretionary term “shall” to mandate that such “new

service[s] … be available to nonmember depository institutions,” it necessarily follows that BSJI,

like nonmember depository institutions generally, is entitled to a master account. This conclusion

stands even if master accounts are not deemed a covered “new service,” for “all services offered

by the Federal Reserve System are conditioned on the issuance of master accounts.” Fourth

Corner Credit Union v. Fed. Rsrv. Bank of Kansas City, 861 F.3d 1052, 1069 (10th Cir. 2017)

(Bacharach, J.).

       Defendants focus on the fact that § 248a is housed in a subchapter titled “Board of

Governors of the Federal Reserve System” and suggest that Congress would not have mandated

the Reserve Banks to issue master accounts through a provision seemingly directed at the Board.

But 12 U.S.C. § 248(k) permits the Board to delegate “any of its functions,” save discrete actions

not relevant here, to the Reserve Banks. That the Board has delegated responsibility does not mean

that the Reserve Banks are permitted to circumvent Congressional directives. Nor can the title of

a statute “undo or limit that which the text makes plain.” Brotherhood of R. R. Trainmen v. Balt.

& O.R. Co., 331 U.S. 519, 529 (1947); see Custodia Bank, Inc. v. Fed. Rsrv. Bd. of Governors, 640

F. Supp. 3d 1169 (D. Wyo. 2022) (“[T]he title of Subchapter II … likely offer[s] relatively little

toward refuting [the fact that § 248a mandates master account access].”).



                                                 8
      Case 1:23-cv-06414-JGK          Document 73        Filed 09/06/23       Page 14 of 25




       The FRBNY also contends that the absence of the term “all” preceding “nonmember

depository institutions” in § 248a necessarily limits the provision’s scope. As Judge Bacharach

correctly recognized, the term “all” is superfluous when used with a plural noun such as

“nonmember depository institutions;” the plural noun is inherently inclusive absent a restrictive

modifier. Fourth Corner, 861 F.3d at 1069.

       Defendants’ claim that “Congress recently recognized” Reserve Banks’ unfettered

discretion over master accounts in an amendment to the Federal Reserve Act (the “Amendment”)

is borderline frivolous. Board Opp’n at 24; see also FRBNY Opp’n at 19-20. The Board lodged

the identical argument in Custodia (although the plaintiff there has only applied for an account

while BSJI has held one for twelve years). The sponsor and principal drafter of the amendment

rebuked the argument in an amicus curiae brief, stating that the Board had:

       misconstrue[d] the Amendment as recognizing or bolstering their discretion to
       reject master account applications from statutorily eligible depository institutions.
       As its text makes clear—and as the Board knows from conversations with
       legislative staff during its drafting—the Amendment was exclusively a
       transparency measure....

Amicus Curiae Brief of Former Senator Patrick J. Toomy in Support of Neither Party, Custodia,

1:22-CV-00125-SWS, April 20, 2023 (ECF No. 151) at 2-3. The Custodia court thereafter rejected

the Board’s argument, finding that “Section 248c does not, expressly or impliedly, carry the

statutory construction load the Board of Governors asserts it does.” Custodia, 1:22-CV-00125-

SWS, “Order on Defendants’ Motions to Dismiss Amended Complaint” (ECF 164) at 12.

       Discussing Fourth Corner, the Board claims that two members of the Tenth Circuit panel—

Judge Moritz and Judge Matheson—“implicitly rejected the notion that every depository

institution is automatically entitled to a master account under Section 248a.” Board Opp’n at 18.

Not so. Judge Moritz said she would dismiss the case without deciding the issue, while Judge



                                                9
      Case 1:23-cv-06414-JGK          Document 73        Filed 09/06/23     Page 15 of 25




Matheson concluded that the case should be dismissed on ripeness grounds. Fourth Corner, 861

F.3d at 1058-59. And the TNB court declined to reach the issue. TNB USA Inc. v. Fed. Rsrv. Bank

of N.Y., No. 1:18-CV-7978, 2020 WL 1445806, at *4 (S.D.N.Y. Mar. 25, 2020).

       The Board also contends that it is not a proper defendant here. Yet the Board acknowledges

its supervisory authority over the FRBNY’s decision-making process and admits that it “validated”

FRBNY’s decision to terminate BSJI’s master account.            Board Opp’n at 7. The limited

documentary evidence already shows that the Board itself referred to the FRBNY closure analysis

as merely “pre-decisional,” and explicitly offered its non-objection before the FRBNY could act.

See Second Supplemental Declaration of Christopher Laursen (“2d Suppl. CL Decl.”) ¶¶ 34-36;

Ex. B. Even before discovery, this one email is sufficient to implicate the Board in the decision-

making process. Simply put, the Board is statutorily obligated to supervise the actions of the

FRBNY, has been long-involved in this dispute, and has adopted and acted on an improper

interpretation of the statutory regime governing master account access.

       B.      BSJI Did Not Waive Its Statutory Right to an Account, nor Is It Estopped from
               Asserting That Right

       The FRBNY claims that even if BSJI possesses a statutory right to a master account, that

right has been waived by BSJI’s acquiescence to two contracts that purportedly provide the

FRBNY with unfettered authority to terminate master account access. Those contracts are a

condition of master account access not only for BSJI, but for all institutions wanting master

accounts. Though the FRBNY cabins its discussion to BSJI’s contracts, the FRBNY is effectively

asking this Court to sanction its efforts to prospectively strip every master account holder of its

statutory rights through a contract master account holders have no choice but to sign. That is not

the law.




                                                10
      Case 1:23-cv-06414-JGK           Document 73        Filed 09/06/23       Page 16 of 25




       “The Supreme Court has stated that prospective waivers of statutory rights are

impermissible.” Cedeno v. Argent Tr. Co., No. 20-cv-9987, 2021 WL 5087898, at *5 (S.D.N.Y.

Nov. 2, 2021). “Prospective waivers” are waivers that exist prior to the accrual of a cause of action.

Alexander v. Gardner-Denver Co., 415 U.S. 36, 52 (1974) (while a plaintiff “may waive his cause

of action” concerning a statutory right in a “voluntarily settlement,” that right “may not be waived

prospectively”). Whether based on Operating Circular No. 1—which BSJI has been subject to

since 2012—or the Supplemental Terms BSJI entered into in 2020, BSJI’s current cause of action

had yet to accrue. The FRBNY’s efforts to prospectively contract away master account holders’

statutory rights are patently impermissible.

       The FRBNY’s cases are inapposite. BSJI’s claims, which the FRBNY argues are waived,

are brought under federal law; it “is well established that federal law governs all questions relating

to the validity of and defenses to purported releases of federal statutory causes of action.”

Locafrance U.S. Corp. v. Intermodal Sys. Leasing, Inc., 558 F.2d 1113, 1115 (2d Cir. 1977); see

Rivera v. New York City Dep’t of Educ., No. 21-cv-6134, 2023 WL 2563665, at *7 n.12 (E.D.N.Y.

Feb. 3, 2023) (applying Locafrance in the waiver context). The FRBNY relies upon cases applying

New York state law, which has developed an entirely separate body of precedent governing

waivers. See Columbus Park Corp. v. Dep’t of Hous. Pres. & Dev. of the City of New York, 586

N.Y.S.2d 554 (N.Y. 1992) (applying the New York state waiver standard); see also F.D.I.C. v. Four

Star Holding Co., No. 97-CV-4184 (JFK), 2000 WL 256146, at *3 (S.D.N.Y. Mar. 7, 2000) (same).

       It is worth reiterating the breathtaking scope of the FRBNY’s position: it adopts the

stunning position that, leveraging its unequal bargaining power, it may shield every termination

decision it has made, and every termination decision it will make in the future, from judicial review,

thereby effectively circumventing the plain intent of Congress and stripping banks of their



                                                 11
      Case 1:23-cv-06414-JGK            Document 73         Filed 09/06/23      Page 17 of 25




statutory rights. See Brooklyn Sav. Bank v. O’Neil, 324 U.S. 697, 704 (1945) (finding waivers of

statutory rights that thwart legislative policy invalid). And the FRBNY claims to accomplish this

through a contractual provision that is silent as to the fact it purportedly operates as a waiver of all

statutory, constitutional, or contractual rights. See Morris v. New York City Employees’ Ret. Sys.,

129 F. Supp. 2d 599, 609 (S.D.N.Y. 2001) (invalidating waiver where government did not make

clear the specific rights purportedly waived).

       The FRBNY’s equitable estoppel argument also fails.                “Equitable estoppel is an

extraordinary remedy, that is to be invoked sparingly and only under exceptional circumstances.”

Roeder v. J.P. Morgan Chase & Co., 523 F. Supp. 3d 601, 616 (S.D.N.Y. 2021), aff’d, 2022 WL

211702 (2d Cir. Jan. 25, 2022). It surely is inapplicable here, where the FRBNY’s grant of a master

account to BSJI is statutorily required (with or without a contract). Regardless, “[w]hether

equitable estoppel applies in a given case is ultimately a question of fact.” Wilson v. Malca-Amit

USA, LLC, No. 06-CIV.-4623 (KMW), 2007 WL 9815638, at *2 (S.D.N.Y. Nov. 6, 2007). The

FRBNY has provided nothing but conclusory statements in support of the doctrine here.

       C.      BSJI Is Likely to Succeed on, or Has Presented Serious Questions Concerning,
               Its APA Claim

       Defendants lodge only two substantive defenses to BSJI’s APA claim: that the APA

precludes review of agency action “committed to agency discretion by law,” and that the FRBNY

is not an agency for APA purposes. Having disposed of the former (see supra Section II.A), all

that remains is the argument the FRBNY is not a federal agency. Defendants fail to persuade.

       Federal instrumentalities that “exercise substantial independent authority” are agencies as

defined by the APA. Dong v. Smithsonian Inst., 125 F.3d 877, 881 (D.C. Cir. 1997) (stating that

an “agency” under the APA “by law has authority to take final and binding action affecting the

rights and obligations of individuals”); 5 U.S.C. § 551(1). The FRBNY’s possession of such


                                                  12
      Case 1:23-cv-06414-JGK            Document 73       Filed 09/06/23     Page 18 of 25




authority is made plain by Defendants’ opposition papers, both of which boast of the independent

authority the FRBNY claims to possess over master accounts. Board Opp’n at 5; FRBNY Opp’n

at 5 n.1, 18. The FRBNY cannot simultaneously assert and disclaim unilateral control over master

account access. Its exercise of this purported authority means it is an agency subject to APA

review.

          Imagine a contrary result. The Board—indisputably an agency—has the statutory authority

to delegate “any of its functions, other than those relating to rulemaking or pertaining principally

to monetary and credit policies” to the Reserve Banks. 12 U.S.C. § 248(k). These delegated

powers include those concerning master account access, as well as myriad other functions Reserve

Banks have been delegated. See 12 C.F.R. § 265.20. Under Defendants’ interpretation, the mere

act of delegating these functions operates as a complete bar to APA review. Such an absurd and

easily exploitable loophole is not what Congress envisioned in enacting a statute designed to bring

accountability and transparency to the administrative process.

          The FRBNY points out that Flight Int’l Group, Inc. v. Fed. Rsrv. Bank of Chicago., 583 F.

Supp. 674 (N.D. Ga. 1984), was later vacated, but that was due to settlement, not legal error. 597

F. Supp. 462 (N.D. Ga. 1984). The FRBNY’s criticism of Lee Constr. Co., Inc. v. Fed. Rsrv. Bank

of Richmond, 558 F. Supp. 165 (D. Md. 1982), hinges, and falls, on its incorrect reading of Section

13. See supra Section II.A. Defendants do not (and cannot) cite a single case in which the Reserve

Banks were determined not to be agencies for APA purposes.

          Through these proceedings we have learned that there is not a single, internal memorandum

justifying the 2022 closure decision. In stark terms, the FRBNY, with the blessing of the Board,

decided to terminate BSJI’s master account (and its livelihood) without so much as a thought as to

whether that decision was supported by logic or fact. WMI Decl. Ex.1. Since then, the FRBNY



                                                 13
      Case 1:23-cv-06414-JGK            Document 73        Filed 09/06/23      Page 19 of 25




has tried to distance itself from the 2022 closure decision by saying it was “nonfinal,” ECF No. 34

at 2 n.1, despite a mountain of evidence to the contrary. BSJI Mt. at 9-11.

       Defendants also now push the narrative that a



                                                                                      FRBNY Opp’n

at 11-12; see Declaration of Abbe D. Lowell (“Suppl. ADL Decl.”) Ex. A. But AMLRS performed

a comprehensive evaluation of these same transactions, engaged in dialogue with BSJI, and

requested information the FRBNY did not care to request. It concluded the transactions

                           AML RightSource Independent Review Audit Report Att. Ex. A at 11;

cf. 2d Suppl. CL Decl. Ex. A.

       The FRBNY’s claim that BSJI somehow poses an “undue risk” to the “overall economy”

under Principle 5 of the Guidelines, is likewise unreasonable. Suppl. ADL Decl. Exs. A, B. As

BSJI previously observed, even taking an extreme example and assuming that all of BSJI’s

transactions during the 2022 review period were “illicit,” such activity would represent only

0.000125 percent of the US GDP and 0.000032 percent of world GDP. From a quantitative

standpoint, the potential illicit activity flowing through BSJI’s Fed account is entirely insignificant

to the overall economy. BSJI Mt. at 13. The Board asserts that there is no “de minimis” exception

to money laundering. Board Opp’n at 21. That is a non-sequitur. A bank’s regulator, and law

enforcement authorities, may investigate and take actions against any illicit conduct. None has

found that with BSJI, now or ever.

       The Board adopted Guidelines that it argues permit closure upon reasoned findings that a

bank poses an undue risk to the overall economy. Defendants fail their own standard. See 2d

Suppl. CL Decl. ¶¶ 3-33. Compare BSJI’s conduct with Deutsche Bank’s: BSJI’s compliance



                                                  14
        Case 1:23-cv-06414-JGK          Document 73       Filed 09/06/23    Page 20 of 25




program and transactions have been studiously examined by outside auditors for years without a

single finding of impropriety and BSJI stands to lose its master account. Deutsche Bank, by

contrast, has been told by the FRBNY since 2015 to tighten its anti-money laundering controls, to

fix “unsafe and unsound practices,” and was just recently fined $186 million dollars. 3 It retains

its master account.

         The following chart provides an overview of the unsound closure decision process to date.




3
    See Federal Reserve Board, Press Release (Jul 19, 2023), available at

https://www.federalreserve.gov/newsevents/pressreleases/enforcement20230719a.htm#:~:text=Fi

rst%2C%20the%20Board%20issued%20a,and%20anti%2Dmoney%20laundering%20controls

                                                 15
Case 1:23-cv-06414-JGK   Document 73   Filed 09/06/23   Page 21 of 25
      Case 1:23-cv-06414-JGK            Document 73        Filed 09/06/23       Page 22 of 25




       D.      BSJI Is Likely to Succeed on, or Has Presented Serious Questions Concerning,
               Its Mandamus Claim

   To succeed on a claim for a writ of mandamus pursuant to 28 U.S.C. § 1361, a plaintiff must

show: “(1) a clear right in the plaintiff to the relief sought; (2) a plainly defined and peremptory

duty on the part of the defendant to do the act in question; and (3) no other adequate remedy

available.” Anderson v. Bowen, 881 F.2d 1, 5 (2d Cir. 1989). The first two criteria have already

been met, and BSJI has no other adequate remedy available. See supra Sections I-II.A. That BSJI

seeks this remedy through separate claims does nothing to negate the viability of its mandamus

claim. See City of New York v. Heckler, 742 F.2d 729, 739 (2d Cir. 1984) (mandamus jurisdiction

is an “alternate source of the District Court’s authority”).

       E.      BSJI Is Likely to Succeed on, or Has Presented Serious Questions Concerning,
               Its Due Process Claim

       It is well-recognized that a property interest arises in relation to a statutory right. Ky. Dep’t

of Corr. v. Thompson, 490 U.S. 454, 462 (1989). For that matter, the very contract Defendants seek

to rely on to water down BSJI’s rights gives rise to a “property” interest that may not be eviscerated

absent due process. See Perry v. U.S., 294 U.S. 330, 350-351 (1935).

       F.      BSJI Is Likely to Succeed on, or Has Presented Serious Questions Concerning,
               Its Contractual Claims

       Having vehemently, and incorrectly, argued that BSJI’s other claims were all waived based

on its existing contractual obligations to the FRBNY, Defendants turn face and assert that a contract

the FRBNY required BSJI to sign has no effect. But Defendants cannot have it both ways. All

parties agree that BSJI and the FRBNY are subject to Operating Circular No. 1. Board Opp’n at 3;

FRNY Opp’n at 6. Paragraph 7 of Operating Circular No. 1 contains a provision entitled “Duty of

Care” that details the FRBNY’s liability for actual damages stemming from its “lack of good faith

and failure to exercise ordinary care.” BSJI has alleged and presented substantial evidence of how


                                                  17
        Case 1:23-cv-06414-JGK           Document 73        Filed 09/06/23       Page 23 of 25




Defendants failed to meet this standard, as well as the fact that an implied duty of good faith and fair

dealing is read into every contract governed by New York law. BSJI Mt. at 6, 27-28; 2d Suppl. CL

Decl. ¶¶ 3-33. Defendants do not dispute this. See supra Section II.C.

III.     The Public Interest Favors Granting an Injunction

         According to Defendants, BSJI engages in or facilitates money laundering; preventing

money laundering by a master account holder is costly; and the public interest associated with

preventing such activity counsels against granting an injunction. But Defendants’ irresponsible

accusations are hollow, and it is inherently troublesome that they are comfortable lobbing such

inflammatory accusations without offering a shred of substantive proof. BSJI has conclusively

disposed of these claims. Had Defendants engaged with BSJI in good faith discussions, we would

not be here today. This is a suit of Defendants’ own making, and they cannot claim any public

interest in their own violations of law. See BSJI Mt. at 30-31.4

         Critically, even if Defendants could claim dominion over some aspect of the public interest

based on claims of purported illicit activity, BSJI has retained an independent transaction monitor,

approved by Defendants, during the preliminary injunction proceedings. BSJI is willing to

continue to employ this independent monitor, thus negating Defendants’ already-dubious assertion

that continued bank activity poses an “undue risk” to the “overall economy.”

                                            CONCLUSION

         For the foregoing reasons, BSJI respectfully requests that this Court grant its Motion for

Preliminary Injunction.




4
    BSJI is confident that discovery will further prove the validity of its claims in these proceedings.

                                                   18
     Case 1:23-cv-06414-JGK   Document 73    Filed 09/06/23    Page 24 of 25




Dated: September 6, 2023           By:    /s/ Abbe D. Lowell


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                                     19
      Case 1:23-cv-06414-JGK            Document 73        Filed 09/06/23      Page 25 of 25




                              CERTIFICATE OF COMPLIANCE

       In accordance with Section II.D of the Court’s Individual Practices, excluding the cover

page, table of contents, table of authorities, and this certificate of compliance, Plaintiff’s Reply

Memorandum of Law in Support of BSJI’s Motion for Preliminary Injunction (“Reply”) contains

5,593 words, including footnotes. The Reply complies with the formatting rules set forth in

Section II.D of the Court’s Individual Practices.



Dated: September 6, 2023                       By:     /s/ Abbe D. Lowell
                                                       Abbe David Lowell




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